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 3
 4                      IN THE UNITED STATES DISTRICT COURT
 5                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,     )
                                   )           CR. No. S-05-113 LKK
 8                   Plaintiff,    )
                                   )
 9             v.                  )
                                   )           TIME EXCLUSION ORDER
10   RAQUEL ALCAZAR, and           )
     RUBEN MONTENEZ,               )
11                                 )
                     Defendant.    )
12   ______________________________)
13         Upon motion of both parties, the Court continues the next
14   hearing in this case to January 24, 2006 at 9:30 a.m.             The court
15   appointed Carl Larson as co-counsel for Defendant Montenez to
16   ensure Mr. Montenez’ adequate representation during the time his
17   primary counsel Dwight Samuel is engaged in a length state murder
18   trial.    Mr. Larson has yet to review the discovery in the case
19   and needs time to do so. The        continuance is necessary for
20   counsel adequately to review the discovery provided by the
21   government, go over the discovery with his client and to conduct
22   further investigation in the case.         Thus, the requested
23   continuance is for effective and diligent preparation of counsel
24         The Court finds that the interests of justice served by
25   granting this continuance outweigh the best interests of the
26   ///
27   ///
28   ///
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 1   public and the defendant in a speedy trial.        18 U.S.C. §§ 3161
 2   (h)(8)(B)(iv) (local code T-4) and time, therefore, will be
 3   excluded from January 10, 2006 through January 24, 2006.
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     DATE: January 11, 2006                  /s/ Lawrence K. Karlton
 5                                           HON. LAWRENCE K. KARLTON
                                             U.S. DISTRICT JUDGE
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